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                                 UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF TEXAS
                                        TYLER DIVISION


UNITED STATES OF AMERICA                                §

v.                                                      §           CRIMINAL NO. 6:11cr43

CHRISTOPHER DALE CONLEY (03)                            §

                               REPORT AND RECOMMENDATION OF
                               UNITED STATES MAGISTRATE JUDGE

        This Report and Recommendation is submitted to the Court pursuant to 28 U.S.C. § 636(b)(3). This

case has been referred by the Honorable Michael Schneider to the undersigned Magistrate Judge for the taking

of a felony guilty plea. The parties have consented to appear before a Magistrate Judge.

        The defendant and counsel appeared before the undersigned United States Magistrate Judge who

addressed the defendant personally in open Court and informed the defendant of, and determined that the

defendant understood, the admonishments under Rule 11 of the Federal Rules of Criminal Procedure.

        Pursuant to a plea bargain agreement with the Government, Defendant pled guilty to Counts Two and

Three of the Indictment.

        The undersigned Magistrate Judge finds the following:

1)      The defendant, with the advice of his attorney, has consented orally and in writing to enter this guilty

plea before a Magistrate Judge subject to final approval and sentencing by the presiding District Judge;

2)      The defendant fully understands the nature of the charges and penalties;

3)      The defendant fully understands the terms of the plea agreement;

4)      The defendant understands his constitutional and statutory rights and wishes to waive these rights,

including the right to a trial by jury and the right to appear before a United States District Judge;

5)      The defendant’s plea is made freely and voluntarily;
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6)      The defendant is competent to enter this plea of guilty;

7)      There is a factual basis for this plea; and

8)      The ends of justice will be served by acceptance of the defendant’s plea of guilty.

                                              Recommendation

        Accordingly, it is hereby RECOMMENDED that the District Judge accept the plea of guilty and enter

a final judgment of guilty against the defendant. It is further RECOMMENDED that the plea agreement be

approved conditioned upon a review of the presentence report.

        A party’s failure to file objections to the findings, conclusions, and recommendations contained in this

Report within fourteen days after service with a copy thereof shall bar that party from de novo review by the

district judge of those findings, conclusions and recommendations and, except upon grounds of plain error,

from appellate review. of the unobjected-to proposed factual findings and legal conclusions accepted and

adopted by the district court. Douglass v. United Services Automobile Association, 79 F.3d 1415, 1430

(5th Cir. 1996) (en banc).



                     So ORDERED and SIGNED this 2nd day of November, 2011.




                                                       ___________________________________
                                                                  JOHN D. LOVE
                                                       UNITED STATES MAGISTRATE JUDGE




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